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                                    UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
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   Sydney Ji, June Abe, Lee Shubert, Kira               CASE NO. 4:21-cv-05143-HSG
12 Tomlinson, Ranela Sunga, and Stefanie Bonner,
   individually and on behalf of all others similarly
13 situated,                                             ORDER SETTING CASE SCHEDULE
                                                         THROUGH RULE 12 MOTION
14                    Plaintiff,
                                                         BRIEFING
15              vs.

16 NAVER CORPORATION, a corporation;
     NAVER CLOUD CORPORATION, a                          Judge: Hon. Haywood S. Gilliam, Jr.
17   corporation; NAVER CLOUD AMERICA INC.               Location: Courtroom 2
     f/k/a NAVER BUSINESS PLATFORM
18   AMERICA INC., a corporation; SNOW
     CORPORATION, a corporation; SNOW INC., a
19   corporation; Z HOLDINGS CORPORATION, a
     corporation; LINE CORPORATION, a
20   corporation; LINE PLUS CORPORATION, a
     corporation; and LINE EURO-AMERICAS
21   CORPORATION, a corporation.

22                    Defendants.

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                Plaintiffs Sydney Ji, June Abe, Lee Shubert, Kira Tomlinson, Ranela Sunga, and Stefanie
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     Bonner (collectively, “Plaintiffs”), and Defendants NAVER Corporation, NAVER Cloud
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     Corporation, and NAVER Cloud America Inc. (collectively, “NAVER Defendants”); SNOW
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     Corporation and SNOW Inc. (collectively, “SNOW Defendants”); and Z Holdings Corporation,
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     LINE Corporation, LINE Plus Corporation, and LINE Euro-Americas Corporation (collectively,
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     “LINE Defendants,” and together with the NAVER and SNOW Defendants, “Defendants”), by and
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     through their respective counsel of record, have stipulated to the following:
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                1. The Parties shall exchange initial disclosures pursuant to Fed. R. Civ. P. 26(f) on or
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     before October 12, 2021;
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                2. Defendants shall file their Rule 12 motions on or before October 25, 2021;
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                3. Plaintiffs shall file their oppositions on or before December 1, 2021;
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                4. Defendants shall file their replies on or before December 22, 2021.
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                Good cause appearing, the Parties request for an order setting an initial case schedule as
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     described above is GRANTED.
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                IT IS SO ORDERED.
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20 Dated:               10/13/2021
                                                             Honorable Haywood S. Gilliam, Jr
21                                                           United States District Judge
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